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                       UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,                             )
                                                       )
                        Plaintiff,                     )
                                                       )
 v.                                                    ) Case No. 00-CR-0126-006-CVE
                                                       )          (17-CV-0243-CVE-mjx)
 TIMOTHY JOHN VAUGHN,                                  )
 a/k/a Terry White,                                    )
 a/k/a Tone,                                           )
 a/k/a Booty Green,                                    )
                                                       )
                        Defendant.                     )

                                     OPINION AND ORDER

        Now before the Court is Defendant’s Motion to Vacate Count I (Dkt. # 1219). Defendant

 Timothy John Vaughn asks the Court to vacate his conviction for drug conspiracy or reduce his

 sentence based on a decision by the United States District Court for the Eastern District of New

 York. See United States v. Holloway, 68 F. Supp. 3d 310 (E.D.N.Y. 2014).1 The Court has reviewed

 defendant’s motion and finds that it is not necessary for the government to file a response.

        On April 6, 2001, Timothy John Vaughn and others were charged in a superseding

 indictment with conspiracy to possess with intent to distribute and to distribute cocaine and

 marijuana (count one). Dkt. # 8. A second superseding indictment (Dkt. # 100) was returned adding

 allegations that the conspiracy involved possession with intent to distribute and the distribution of

 cocaine base (crack). The government filed an enhancement information (Dkt. # 443) stating that

 it intended to seek a statutory enhancement of defendant’s sentence if he were convicted, and


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        In Holloway, the United States Attorney for the Eastern District of New York filed a motion
        asking the court to vacate two of the defendant’s three convictions under 18 U.S.C. § 924(c),
        and the court re-sentenced defendant without the “stacked” § 924(c) convictions. However,
        the court did not suggest that it had the authority to reduce a defendant’s sentence simply
        because the court believed that a sentence was too severe.
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 defendant was on notice that he would receive a mandatory life sentence if convicted. Vaughn

 exercised his right to a jury trial and was convicted. Dkt. ## 543, 546.

         A presentence investigation report (PSR) was prepared and it noted that defendant had three

 prior convictions that qualified as crimes of violence or controlled substance offenses under United

 States Sentencing Guideline § 4B1.1. Two of the qualifying offenses were controlled substance

 offenses. Defendant’s advisory guideline range was increased to 37 based on the career offender

 provision, but ultimately this had no effect on defendant’s sentence. Defendant was subject to a

 mandatory life sentence because of the enhancement information filed by the government, even

 though his advisory guideline range was 360 months to life imprisonment. Defendant was sentenced

 to life imprisonment and defendant filed a notice of appeal challenging his conviction. On June 7,

 2004, the Tenth Circuit Court of Appeals issued a decision denying defendant’s appeal. Dkt. # 855.

 Defendant did not file a petition for writ of certiorari and his conviction became final on September

 5, 2004.

         On August 8, 2016, the Court received a § 2255 motion filed by defendant arguing that he

 was entitled to relief under the Supreme Court’s decision in United States v. Johnson, 135 S. Ct.

 2551 (2015). The Court entered an opinion and order (Dkt. # 1198) denying defendant’s § 2255

 motion, and the Tenth Circuit denied defendant’s request for a certificate of appealability. Dkt. #

 1216.

         Defendant again asks the Court to vacate his conviction or reduce his sentence, and he argues

 that he would receive a less severe sentence if he were re-sentenced under an advisory, rather than

 mandatory, guideline system. Dkt. # 1219. The Court finds that defendant’s motion should be

 treated as a second or successive § 2255 motion, because he is challenging the validity of his


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 sentence and he has already filed a § 2255 motion that has been denied. This Court lacks

 jurisdiction to consider a second or successive § 2255 motion, because defendant must request

 permission from the Tenth Circuit to file a second or successive § 2255. See 28 U.S.C. § 2255(h);

 United States v. Nelson, 465 F.3d 1145, 1148 (10th Cir. 2006); United States v. Torres, 282 F.3d

 1241, 1246 (10th Cir. 2002). A second or successive motion under § 2255 will only be permitted

 in two situations:

         (1) newly discovered evidence that, if proven, and viewed in light of the evidence as
         a whole, would be sufficient to establish by clear and convincing evidence that no
         reasonable factfinder would have found the movant guilty of the offense; or

         (2) a new rule of constitutional law, made retroactive to cases on collateral review
         by the Supreme Court, that was previously unavailable.

 28 U.S.C. § 2255(h). In order for a federal prisoner to proceed under § 2255(h)(2), the Supreme

 Court must explicitly hold that a new rule applies to cases on collateral review. Bey v. United

 States, 399 F.3d 1266 (10th Cir. 2005).

         The Tenth Circuit has determined that “[w]hen a second or successive § 2254 or § 2255

 claim is filed in the district court without the required authorization from this court, the district court

 may transfer the matter to this court if it determines it is in the interest of justice to do so under §

 1631, or it may dismiss the motion or petition for lack of jurisdiction.” In re Cline, 531 F.3d 1249,

 1252 (10th Cir. 2008). Citing Trujillo v. Williams, 465 F.3d 1210, 1223 n.16 (10th Cir. 2006), the

 Tenth Circuit stated that “[f]actors considered in deciding whether a transfer is in the interest of

 justice include whether the claims would be time barred if filed anew in the proper forum, whether

 the claims alleged are likely to have merit, and whether the claims were filed in good faith or if, on

 the other hand, it was clear at the time of filing that the court lacked the requisite jurisdiction.”

 Cline, 531 F.3d at 1251. “Where there is no risk that a meritorious successive claim will be lost

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 absent a § 1631 transfer, a district court does not abuse its discretion if it concludes it is not in the

 interest of justice to transfer the matter to this court for authorization.” Id. at 1252 (citing Phillips

 v. Seiter, 173 F.3d 609, 610 (7th Cir. 1999)) (noting that it is a waste of judicial resources to require

 the transfer of frivolous, time-barred cases).

         The Court finds that there is no risk that defendant will be prevented from litigating a

 meritorious claim if his motion (Dkt. # 1219) is not transferred to the Tenth Circuit. Defendant has

 not raised a constitutional challenge to the validity of his sentence, and there is no likelihood that

 the Tenth Circuit would allow defendant to proceed with a second or successive § 2255 motion.

 Instead, defendant claims that he would likely receive a lower sentence if he were re-sentenced

 under an advisory guideline system. However, this Court does not have the inherent authority to

 modify a previously imposed sentence, and this Court may only re-sentence a defendant pursuant

 to statutory authorization. United States v. Mendoza, 118 F. 3d 707, 709 (10th Cir. 1997). Even

 if defendant would receive a lesser sentence, the Court lacks the authority to vacate or modify his

 sentence based on a perception that his sentence was unduly harsh or severe.2 There is no reason

 to transfer defendant’s motion (Dkt. # 1219) to the Tenth Circuit and his motion should be dismissed

 for lack of jurisdiction.

         IT IS THEREFORE ORDERED that Defendant’s Motion to Vacate Count I (Dkt. # 1219)

 is dismissed for lack of jurisdiction. A separate judgment of dismissal is entered herewith.

         DATED this 3rd day of May, 2017.




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         Defendant would receive the same sentence, regardless of the advisory nature of the
         guidelines, because defendant’s life sentence was imposed pursuant to an enhancement
         information filed by the government.

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